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Of Attorneys for Defendant




                               UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON
                                     EUGENE DISTRICT




 JOHN DOE;                                                       Case No. 6:17-CV-01103-MK

                  Plaintiff,                          STIPULATION AND ORDER
                                                      REGARDING HOFFMAN'S
        V.                                            ATTORNEY FEES

 UNIVERSITY OF OREGON;

                  Defendant.

       Plaintiff is seeking to recover attorney fees and costs (including expert fees) incurred

outside of this litigation ("Hoffman's Attorney Fees") as damages in this case. The University

disputes whether Plaintiff is entitled to recover Hoffman's Attorney Fees as damages in this case

and will be filing a dispositive motion challenging Plaintiffs entitlement to those damages. If it

is determined that Plaintiff is entitled to recover Hoffman's Attorney Fees in this case, then the

University will challenge the reasonableness ·of Hoffman's Attorney Fees along withrspecific

objections to particular time entries and hourly rates for Hoffman's Attorney Fees that it contends

are not reasonable.


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        In an effort to streamline discovery prior to the arbitrator's ruling on the University's

dispositive motion, the parties stipulate that the fact and expert discovery deadlines currently set

in this case will not apply to discovery focused on the reasonableness of Hoffman's Attorney Fees.

At the arbitration, to the extent the matter was not decided as part of the University's dispositive

motion, the arbitrator will determine whether Plaintiff is entitled to recover Hoffman's Attorney

Fees but will not decide on the amount, if any, that Plaintiff may recover. If recoverable in

Plaintiffs breach of contract claim and/or negligence claim then, for the purpose of the parties'

arbitration under the Partial Settlement Agreement (Dkt #60) Hoffman's Attorney Fees will be

deemed to be prima facie sufficient proof of damages incurred by Plaintiff.

        The parties further stipulate that, to the extent Plaintiff is entitled to recover at least some

of Hoffman's Attorney Fees, the arbitrator will decide the. amount of Hoffman's Attorney Fees

that Plaintiff can recover, if any, pursuant to FRCP 54 with the exception that the parties together

with the arbitrator will address the timing of the required motion, any further fact discovery or

expert discovery related to Hoffman's Attorney Fees, and the extent to which the arbitrator must

provide written findings to support an award of Hoffman's Attorney Fees as damages in this case.

IT IS SO STIPULATED:

 HERSHNER HUNTER, LLP                                  LANDYE BENNETT BLUMSTEIN LLP

    Isl Amanda M Walkup                                  Isl Richard S. Yugler
 By_ _ _ _ _ _ _ _ _ _ __                              By_ _ _ _ _ _ _ _ _ _ __
   Amanda M. Walkup, OSB 934508                          Richard S. Yugler, OSB 804167
   Of Attorneys for Defendant                            Of Attorneys for Plaintiff

IT IS SO ORDERED.

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DATED:                           2020.


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                                         Must ,fa T.                                 Magistrate Judge

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